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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 LUCASYS INC.,

        Plaintiff,                               Civil Action File

  v.                                             No.: 1:20-cv-2987-AT

  POWERPLAN, INC.,                               JURY TRIAL DEMANDED

        Defendant.

  REPLY IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIMS

       PowerPlan’s opposition [Dkt. 52] to Lucasys’ motion to dismiss [Dkt. 49]

shows PowerPlan’s true motive is to permanently prevent all its former employees

from competing with it. Although PowerPlan weakly asserts that it has made

factually sufficient misappropriation allegations, PowerPlan’s real argument

appears on page 5 of its brief: “PowerPlan alleges that it is ‘virtually impossible for

[Lantukh] and Lucasys to design and develop the Lucasys software without relying

on confidential and proprietary aspects of PowerPlan software.’” [Dkt. 52 at 5.] In

other words, according to PowerPlan, no one who ever worked for PowerPlan can
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build competing software because they were once privy to PowerPlan’s

unspecified trade secrets.1

      Although PowerPlan uses different language, this argument would require

the Court to adopt the “inevitable disclosure” doctrine. PowerPlan avoids that label

because the Georgia Supreme Court expressly rejected the doctrine, which would

otherwise permit trade secret misappropriation claims based merely on a showing

that the defendant’s new employment will lead to the “inevitable disclosure” of

trade secrets. See Holton v. Physician Oncology Servs., L.P., 292 GA 864, 870

(2013) (“[W]e hold that the inevitable disclosure doctrine is not an independent

claim under which a trial court may enjoin an employee from working for an

employer or disclosing trade secrets.”). Moreover, even if the Georgia Supreme

Court had accepted that doctrine, “there must be evidence of something more than

the mere fact that the former employee learned the former employer’s trade

secrets.” ID Technology, LLC v. Hamilton, 2014 WL 12703272 at *2 (N.D. Ga.


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  PowerPlan states several times that Lucasys has “conceded” that PowerPlan
adequately alleged that it has trade secrets. [e.g., Dkt. 52 at 8, n.2.] That
mischaracterizes the motion to dismiss, which “presumed” that PowerPlan has
trade secrets for purposes of the motion. [Dkt. 49-1 at 3, n.1] The very footnote
PowerPlan cites for the supposed concession explains that part of the reason
PowerPlan cannot adequately allege misappropriation is because it has not even
identified what its purported trade secrets are with any specificity. As the Court is
likely aware, we address that problem with the counterclaim in a separate motion.
[Dkt. 45.]
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2014). Instead, PowerPlan must make “a showing that the former employee has

done something wrong, such as appropriating the former employer’s confidential

information or copying the former employer’s customer list, pricing list, etc.” Id.

It hasn’t alleged that here.

      PowerPlan asserts that numerous cases support the proposition it need not

allege detailed information of the misappropriation to survive a motion to dismiss.

But a careful review of these cases shows that in each of them the pleading party

alleged facts to plausibly suggest the defendants in those cases had

misappropriated trade secrets. PowerPlan’s counterclaims skip the facts in favor of

conclusions.

      Specifically, in Brocade Commc'ns Sys., Inc. v. A10 Networks, Inc., Brocade

(the former employer) alleged its former employees made copies of trade secrets,

including its source code, to make a competing product. See Brocade, 2011 WL

1044899, at *5, 6 (N.D. Cal. Mar. 23, 2011). In Novus Grp., LLC v. Prudential

Fin., Inc., Novus (the former employer) alleged that former employees took trade

secret information to their new employer and shared it with the new employer.

See Novus Grp., LLC, No. 2:19-CV-208, 2019 WL 4452708, at *7 (S.D. Ohio

Sept. 17, 2019). In Calendar Rsch. LLC v. StubHub, Inc., plaintiff alleged

defendants frequently communicated that they wanted to incorporate

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plaintiff’s source code into existing and future applications. See Calendar Rsch.

LLC., No. 2:17-CV-04062-SVW-SS, 2017 WL 10378336, at *4 (C.D. Cal. Aug.

16, 2017). In AirWatch LLC v. Mobile Iron, Inc., plaintiff alleged that defendant

used false identities, email addresses, phone numbers, and a fake business to

improperly acquire plaintiff’s trade secrets. See AirWatch LLC., No. 1:12-CV-

3571-JEC, 2013 WL 4757491, at *5 (N.D. Ga. Sept. 4, 2013).

      PowerPlan, in contrast, does not allege anything close to what plaintiffs

alleged in those cases. Nor does PowerPlan allege any improper conduct by

Lucasys to plausibly suggest Lucasys misappropriated trade secrets. Powerplan’s

allegations against Lucasys only establish: (1) the founders of Lucasys worked for

PowerPlan (years ago) or accessed PowerPlan software under a confidentiality

agreement, and (2) Lucasys is developing a competing software product.

      If alleging those facts alone were enough to support a trade secret

misappropriation claim, no former employee of any company would ever be able

to work for a competitor in the same industry. It would effectively bind all former

employees to a permanent non-compete agreement even where they had never

signed one. While PowerPlan undoubtedly wishes it could prevent all its former

employees from competing merely because they were exposed to some amorphous

purported trade secrets, courts have determined something more is required. See,

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e.g., Holton, 292 Ga. at 870; ID Technology, Inc., 2014 WL 12703272 at *2; cf.

Scientific Games Int’l, Inc. v. Cash, 2017 WL 542034 at *5 (holding that

misappropriation was shown where “defendant took thousands of electronic files

from his employer before resigning from the company”).

      PowerPlan’s response brief only further confirms Lucasys’ antitrust theory:

rather than compete on the merits, PowerPlan preserved its monopoly by

baselessly accusing Lucasys of misappropriating trade secrets and interfered with

Lucasys’ relationships with its customers to squash a potential competitive threat.

With its counterclaims, PowerPlan extended its monopoly preservation strategy

into this Court.

      The Court should not permit the strategy to succeed. Because PowerPlan has

not alleged any facts plausibly suggesting that Lucasys misappropriated

PowerPlan’s unspecified “trade secrets,” the Court should dismiss the

counterclaims in this action.

      This 24th day of November, 2021.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing, which is

typed in Times New Roman 14 point in compliance with the local rule, with the

Clerk of Court using the CM/ECF system which will send email notification of

such filing to all attorneys of record:


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      This 24th day of November, 2021.

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